      Case 1:21-cv-02918-TWP-DLP                             Document 1               Filed 11/24/21        Page 1 of 13 PageID #: 1
                                                                                                                                     FILED
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (NonPrisoner)                                                       11/24/2021
                                                                                                                            U.S. DISTRICT COURT

                                        UNITED STATES DISTRICT COURT
                                                                                                                        SOUTHERN DISTRICT OF INDIANA
                                                                                                                             Roger A.G. Sharpe, Clerk
                                                                            for the
                                                             Southern District of Indiana

                                                                 Indianapolis Division


                                                                                       Case No.           1:21-cv-2918-TWP-DLP
     Manetiony Clervrain; Brandako, Inc; Asheley                                                        (to be filled in by the Clerk’s Office)
               Carmelle Dorsainville;
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,                      Jury Trial: (check one)           Yes         No
please write “see attached” in the space and attach an additional                                                  ❐
page with the full list of names.)
                                  -v-

  Jamie Dimon ; Ashley Bacon; Lori A. Beer; Mary
     Callahan Erdoes; Stacey Friedman; Marianne
 Lake;Robin Leopold;Douglas B. Petno; Jennifer A.
 Piepszak; Daniel E. Pinto; Peter L. Scher;Gordon A.
 Smith; Linda B. Bammann ; James A. Bell; Stephen                               )
B. Burke; Todd A. Combs; James S. Crown; Timothy                                )
   P. Flynn; Mellody Hobson;Laban P. Jackson, Jr;                               )
Michael A. Nea; Lee R. Raymond; Joe Kerfott; James                              )
Dimon; Timothy Bold; Muneera S. Carr ; William M.                               )
   Daley; Derek A. Flowers;Kyle G. Hranicky ; Bei                               )
  Ling; Mary T. Mack;Amanda G. Norton; Lester J.                                )
Owens; Ellen R. Patterson; Scott E. Powell; Michael                             )
     P. Santomassimo; Kleber R. Santos; Julie L.                                )
 Scammahorn; Charles W. Scharf ; Barry Sommers ;                                )
Saul Van Beurden; Michael S. Weinbac;Jonathan G.                                )
 Weiss; Ather Williams III; Steven D. Black; Mark                               )
  A. Chancy;Celeste A. Clark; Theodore F. Craver,                               )
  Jr;Wayne M. Hewett; Maria R. Morris; Richard B.                               )
   Payne, Jr.; Juan A. Pujadas ; Ronald L. Sargent;                             )
Charles W. Scharf ; Suzanne M. Vautrinot; Merrick
  B. Garland; William P Barr; Jeff Session;Loretta E
    lynch; Erick H Holder, Jr; Michael B Mukasey;
   Alberto R Gonzales; Jelena McWillims; Martin J.
Gruenberg; Michael; J Hsu; Brandon Milhorn; Arleas
Upton Kea; Arthur J. Murton; Leonard Chanin;Travis
Hill; Bret D. Edwards; Christopher E. Aiello; Daniel
  Bendler; Nicholas Podsiadly; E. Marshall Gentry;
      Sultan Meghji;Zachary N. Brown; Robert D.
  Harris;Doreen R. Eberley; Mark E. Pearce; Diane
    Ellis; Sylvia Burns; John P. Conneely; Nikita
      Pearson; Andy Jiminez; Amy C. Thompson;
     Suzannah L. Susser; M. Anthony Lowe; Rohit
                  Chopra; Lina Khan.


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                             Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (NonPrisoner Complaint)


                                                                          NOTICE

     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
     security number or full birth date; the full name of a person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year of an individual’s
     birth; a minor’s initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk’s Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                          Manetirony Clervrain
                           Address                                       4326 S Sctterfield Rd Suite 153
                                                                         Anderson                           IN             46013
                                                                                      City                 State          Zip Code
                           County
                           Telephone Number                              765-278-9806
                           E-Mail Address                                monticlervrain@gmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.


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                     Defendant No. 1
                           Name                                          Jamie Dimon
                           Job or Title (if known)                       President of JP Morgan Chase
                           Address                                       270 Park Ave
                                                                         New York                         NY               10017
                                                                                       City              State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)
                                                                                Individual capacity    Official capacity


                     Defendant No. 2
                           Name                                          Ashley Bacon
                           Job or Title (if known)                       Chief Risk Officer
                           Address                                       270 Park Ave
                                                                         New York                         NY               10017
                                                                                       City              State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                                Individual capacity    Official capacity


                     Defendant No. 3
                           Name                                          Lori A. Bee
                           Job or Title (if known)                       Chief Information Officer At Chase
                           Address                                       270 Park Ave
                                                                         New York                         NY                 10017
                                                                                       City              State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)
                                                                                Individual capacity    Official capacity


                     Defendant No. 4
                           Name                                          Charles W. Scharf
                           Job or Title (if known)                       Chief Executive at Well Forgo
                           Address                                       420 Montgomery Street
                                                                         San Francisco                    CA                 94104
                                                                                       City              State              Zip Code
                           County

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                           Telephone Number
                           E-Mail Address (if known)
                                                                                Individual capacity    Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):
                            Federal officials (a Bivens claim)
                            State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




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                      Thus, it is true that the defendants extensive conspiracy involved the violationfo the Banking industry,
                      or additional claims for ['"Class of One"] or Exclusion can be proving within this ["Motion for
                      Enforcing Power or Development, or Development Guidance Against Facilly Act by Invoking the
                      Ant(s) Nationality Act"] ("TANA"), or they are additional claims for the defenants jusitfy controlling
                      theory, indeed the motion is pending to file to the various courts against the giant involved exclusion to
                      due process, or for them to justify why" the plaintiff can not open ["Credit cards"], or Bank Account
                      after being convicted.......additionally, to prove National Origin Discrimination is another issues to be
                      proving by circumstantial of the evidence within the the same meaning for controveries claim..then we
                      asking the courts if Chevron doctrine must be clarified Under the Chevron doctrine , a federal court
                      embarks on a two-part test in determining whether to defer to an agency's construction of a statute.
                      First, the court must consider whether Congress has "directly spoken to the precise question at issue, or
                      for which the defendant must show good cause exception, We believe these facts are sufficiently
                      outrageous to satisfy the first element of a cause of action against the officials, or defendants accross
                      the Nation for failure to act when the situations are so required, for the same reason they are liable for
                      additional damages for 1) [ The allegation for rattification Theory has met that is because the plaintiff
                      has filed evidence int he mail cases [21-CV-00326"], and the defendants are liable for intervening cause
                      that is part of the conspiracy claims upon reliefs can be granted, including additional damages, 2) The
                      only question presented here is whether we should overrule those decisions, discarding the deference
                      they give to agencies. We answer that question by means of ["Auer deference"] retains an important
                      role in construing agency regulations. But even as we uphold it, we are asking for reinforce the limits.
                      Auer deference is sometimes appropriate only int his circumstances presenting, or . whether to apply it
                      depends on a range of considerations that we have noted now and again, but compile and further
                      develop today. The deference doctrine we describe is potent in its place, but cabined in its scope. On
                      remand, the Court of Appeals should decide whether it applies to the agency interpretation at issue
                      against injustice, 3) under a theory of respondeat superior the defendants, and their employees are
                      violations of § 1981, or constructive notice for intervening cause action, so as to relieve the original
                      wrongdoer of liability, provided the intervening act could have reasonably been foreseen and the
                      conduct [of the original wrongdoer] was a substantial factor in bringing about the harm, which the
                      Attorney is presenting to protect his family against futher dangerous theroy, including to remove those
                      activist in country such Haiti, among the other or any coutry where he as invoked that is not the United
                      States of America, if the the Supreme Court held that Congress did not intend in the Federal Tort
                      Claims Act ("FTCA"), 28 U.S.C. § 1346, to permit pendent-party jurisdiction.The FTCA provides that
                      "the district courts . . . shall have exclusive jurisdiction of civil actions on claims against the United
                      States" for certain torts of federal employees acting within the scope of their employment. 28 U.S.C. §
                      1346(b). Petitioner seeks to append her claims against the city and the utility to her FTCA action
                      against the United States, even though this would require the District Court to extend its authority to
                      additional parties for whom an independent jurisdictional base — such as diversity of citizenship, 28
                      U.S.C. § 1332(a) (1) — is not lacking, that is because ["17-CV-03194"], or among the the other to be
                      filed in differents courts, or for the courts to certify the cases under Article III, whether a federal court
                      in a diversity action may exercise supplemental jurisdiction over additional plaintiffs whose claims do
                      satisfy the minimum amount-in-controversy requirement, or If § 1367(a) were the sum total of the
                      relevant statutory language, our holding would rest on that language alone. The statute, of course,
                      instructs us to examine § 1367(b) to determine if any of its exceptions apply, so we proceed to that
                      section. While § 1367(b) qualifies the broad rule of § 1367(a), it does not withdraw supplemental
                      jurisdiction over the claims of the additional parties at issue here. The specific exceptions to § 1367(a)
                      contained in § 1367(b), moreover, provide additional support for our conclusion that § 1367(a) confers
                      supplemental jurisdiction over these claims. Section 1367(b), which applies only to diversity cases,
                      with-holds supplemental jurisdiction over the claims of plaintiffs proposed to be joined as indispensable
                      parties under Federal Rule of Civil Procedure 19, or who seek to intervene pursuant to Rule 24. Nothing
                      in the text of § 1367(b), however, withholds supplemental jurisdiction over the claims of plaintiffs
                      permissively joined under Rule 20 ["like the additional plaintiffs "] or certified as class-action members
                      pursuant to Rule 23 (like the additional plaintiffs to be filed by the intervenors,. natural, indeed the
                      necessary, inference is that § 1367 confers supplemental jurisdiction over claims by Rule 20.
                      supplemental jurisdiction over claims against defendants joined under Rule 20.
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          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?
                      Under this case ["21-MC-00108"], for which the plaintiff filed this ["Motion for Opposition , or
                      eviction Notices, or Illegally by conviction for the Market Issues Manipulating Act ("MIMA), these
                      motions is filed to question both ["Well Fargo"], and ["Chase"] among the others pending to file, or
                      question to justification their actions by additional claims as part fo the Settement Process, at ["Dkt, 8]
                      against unreasonable Classification by the Giants, that also inlude this courts ["5D21-2146"] ,upon the
                      courts state courts failed to consider the various important factors, that is including Amending Notice of
                      Appeals, which was filed ["2021-CC-008307-O"], or failed to release the administrative records to the
                      appeals procedure, then we asking if the courts are also liable for additional claimsit now instructs that
                      "a grant of jurisdiction over claims involving particular parties does itself confer jurisdiction over
                      additional claims by or against different parties.. This rule, the Court asserts, is necessary to provide
                      Congress "a background of clear interpretative rules" and to avoid sowing confusion.. But as a method
                      of statutory interpretation, the Court's approach is neither clear nor faithful to our judicial obligation to
                      discern congressional intent. While with respect to the joinder of additional defendants on pendent state
                      claims, the Court's mandate is now clear, its approach offers little guidance with respect to the many
                      other claims that a court must address in the course of deciding a constitutional case. Because the Court
                      provides no reason why the joinder of pendent defendants over whom there is no other basis of federal
                      jurisdiction should differ from the joinder of pendent claims and other pendent parties, I fear that its
                      approach will confuse more than it clarifies. How much more clear to assume — especially when the
                      courts have long so held — that with respect to all of these situations Congress intended the Federal
                      Rules to govern unless Congress has indicated otherwise.

          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




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                      Under ("NIRTA") is a matter for additional claim including, to consolidated cases where jurisidiction
                      are available. or see ["Motion for Settlement Agreement(s) against Secretive Criminals by inovoking
                      the National Regulatory Treaties Act ("NIRTA"), indeed , matter for mitigating financial burdern or for
                      the courts to grant ("IFP") without addditional restriction against the activits, thus, ti is true that any
                      allegation for Moot Status, Without or with prejudice required investigation by the United States
                      Attorney Office or Department of Justice will justice allegation against the agencies nationwide claims
                      ["20-CV-10046"], or matter to question federal circuit court to evlauate several motions seeking the
                      various reliefs upon reliefs can be granted ["Dkt, 3; 6; 1-17"], or for the defendants to show causes
                      acrcoss the country ["21-02131"], including to proceed in format pauperis against the various
                      criminals , or also for termination of Permanent resident Illegal Removal or deportation,a nd the vacatur
                      of their convictions, as well as for a new case by enforcing criminal law, see [21-01865, at Dkt, 5"] or
                      matter for conspiracy by reopening all of the cases where controvesy is applicable, or on June
                      November 5, 2020, which imposed the court imposed restriction or evidence against the officials for
                      failure to waive or failure to grant ("IFF") as a mtter of laws, then noted that the case was claosed
                      without justification, which the plaintiff is inquiring for public debate against both the democrats and
                      republican parties ["21-CV-00326"], or where the plaintiff has filed the evidence, then the defendants
                      actions are questionable for additional jurisdiction ["28 U.S.C 1295; 28 U.S.C 1346; 28 U.S C 1631"],
                      then we asking for additional jurisdiction for appeal procedures, when an appeals its filed any any
                      courts of the United States, not to exclude ["21-02258"; 21-11150" ] to dermine jurisdiction is
                      applicable for the interest of justice by transfer the cases in exceptional situation to allow out of time
                      appeals to proceed, then we asking for majority opnion to ligate against the various judidical officials
                      under ("NIRTA), or matter for settlement Agreements, which the courts will not denied the
                      constituional violations, where each couts should be their own cost, Manetirony Clervrain v. Quincy L
                      Booth Docket 2:20-cv-10046, California Central District Court (Oct. 29, 2020), see Also ["Dkt, 15"], or
                      matter for applying Rule 42. Consolidation; Separate Trials, as well as for the courts to considering, of
                      if, wether the question for decision in these case is one of procedure: is the criminal contempt of
                      nonviolently and respectfully refusing to testify at a criminal trial punishable summarily by the trial
                      judge pursuant to Fed. Rule Crim. Proc. 42(a), or must the trial judge prosecute the contempt on notice
                      pursuant to Rule 42(b), allowing a reasonable time for the preparation of the defense? A trial judge in
                      the District Court under ("NIRTA"), at page 16-23, must compel the administrative records, or matter
                      for evalauting serious crimes by the defendants actions, or punished respondents under subdivision (a)
                      of Rule 42 if they refusing to testify at a trial, at page 32-40, for Assistant United States Attorneys
                      ("AUSAs") to initiate criminal investigation against the various officials accross the country ["12-CV-
                      CR-20193"], for which the court in Florida failed to file the various motions under the above cases, or
                      similarly claims against the defendant for illegal procecutions, against african people,which the
                      defendants could not denied the claim by applying the concept of ("MOCMA") will justified ("TAJA")
                      discriminatory intent, in light of the circumstances the defendants are liable under the applicable laws,
                      see , Clervrain et al v. United States Of America et al Docket ["21-cv-62266"], Florida Southern
                      District Court (Nov. 1, 2021) at ["Dkt,10"] for failure to review administrative records upon reliefs can
                      be granted including damages that must realease for administrative cost within 30 days, as the plaintiff ,
                      Mr Clervrain, who is representing the various individual, or more than 31 individual in thse cases to be
                      admitted in the United States for additional reliefs, and excetional circumstances is presenting to
                      question dismissal complain without prejudice, by ["The"Ant Library Act"] ("TALA"), or the
                      invention upon the court failure to consider this case for controversy 28 U.S. Code § 1332 - Diversity
                      of citizenship; amount in controversy; costs, or to benefits those about to admintted to United States as
                      matter for constituional claims, we will refer to [Mr.Clervrain"] as the Attorney in record to ligate in
                      behalf of the class without signature if the other plaintif has giving him the right of General Power of
                      Attorney to conducts business, or to include all expert testimony which most concern by the courts, and
                      for scientific basic, if any for such analysis must be granted, which the plaintiff has inform the courts
                      that the evidence under ("TANA") is required for additional reliefs, or if whether the public funding
                      will lead to better education is matter of facts, Moreover, Parental Role is another question against mass
                      incarceration and deportation even without the culture shocking by the defendants negligence
                      misconduct, we meet that the education system require improment, they are for litigating rights.

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III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.          Where did the events giving rise to your claim(s) occur?




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                      The event occured after release from Prison, which the activist alleged thatthe defendants discriminated
                      against him, their failure to ratify the laws is the proximate cause of the injuries infacts or attempt to
                      closed his bank account by Chase is presention for justification without justification, pending to prove
                      with evidence as part fo the controversies against control theoy, see ["Motion for ["The Answer Act"]
                      ("TAA") or Additiona Defendants Act ("ADA") by the treaties Movement Protective Act] (TMPA),
                      Thus the question is whether the courts must serve the ["Democrat Pary"] and ["Republic Party"] to
                      inform the public their misconducts, as evidence to prove the claims or significant loss of polical
                      Freedom, and values by both the United States of America and the other country listed on the
                      controvesies, particularlay the ["Republic of Haiti"], then he is asking for international extradition
                      against the various politicians, by invoking the Uniform Criminal Extradition Act ("UCEA"), The
                      extradition statute implements a provision of the United States Constitution, the failure by the
                      defendants to invade Haiti by technicality will justify their actions, or for additional damaged pending
                      to apply right democracy by promoting economic growth, then we asking each of the courts why?,,or
                      why? $ 500 Billion Dollars should not be granted, and why? " the courts should not certify the cases
                      within 30 days to remove his ["pauperis Status"] so that he can hired additional inviduals with different
                      set of skills to help int he process of development of the ["World Educative Science Association"]
                      ("WEDSA") a subdivision of ["Brandako, Inc"] which, like their modern counterparts, granted
                      inventors "the right to exclude others from making, using, offering for sale, selling, or importing the
                      patented invention ," in exchange for full disclosure of an invention that must be managed by
                      ["Prolifico, Inc"], or It has long been understood that a patent must describe the exact scope of an
                      invention and its manufacture to "secure to [the patentee] all to which he is entitled, [and] to apprise the
                      public of what is still open to them by the Brandbid, Inc or [The Ant Act (TAA), or for additional 350
                      Billion Dollars for initiating the development of Education in Haiti, among the other listed under
                      ("TALA"), those brands will help in the process of educative funding across the world, or the evidence
                      for conspiracy claims can be proving by circumstantial of the evidence against each of the defendants
                      for conspiracy theory, or by the same analysis, the elements of conspiracy before considering conferral
                      of jurisdiction under a civil conspiracy theory is being question by the ["Activist"], or ["The Attorney"]
                      to question public opinion concerns by way of Development [" The New Commonwhealth of Haiti,"],
                      therefore the plaintiff is asking if we must freeze asset of those involved in the conspiracies, particulaty
                      those criminals involved in crimes against Humanity in the republic of Haiti, and United States
                      Agencies to release another 100 Millions dollors against each fo the Millionsin Haiti, regarless where
                      they have they funds, from the records, or evidence the funds will lead to Haitians Democracy after
                      certain yeard of Occupation by the United States of America by applying legal, democracy rights, Here,
                      ["Mr. Clervrain"] can be proving by both direct and cicumstantial of evidence pending for majority
                      opinion accross the world, which the courts failed to provide any evidence the plaintiff complaint is
                      rambling on multiple Ground, also matters for multiplicity of victims against the various agencies
                      accross the world for their negligence, as such being the case any allegation by the courts must response
                      within the entire records, include domestic and international factors, or very complex litgation to
                      question if “Chase,” “JPMorgan,” “JPMorgan Chase,” the JPMorgan Chase logo and the Octagon
                      Symbol are trademarks of JPMorgan Chase Bank, N.A. JPMorgan Chase Bank, N.A. is a wholly-
                      owned subsidiary of JPMorgan Chase & Co. or if ["Mr, Clervrain"] is victimized by the defedants, or
                      we recognized in the regulatory context a similar class-of-one theory of equal protection by invoking
                      ("NIRTA") or additional claims for Settment agreements, that the proposed laws is proscribes
                      “discrimination arising not only from a legislative act but also from the conduct of an administrative
                      official, also including the banking officials, it is true that where a mere more carefully drafted
                      complaint might states additional claims for consolidated rights, without amending the complaint is
                      matter for interest of justice, ["18-CV- 3041"] these matters are before the courts by the activist to
                      protect public interest within the plain meaning of laws, ["Dkt, 48 ;33 ; 53; 17; 55; 26; 56; 27 pages"] ,
                      this court continouly abused its discretion by failure to consider the claims against the defendants
                      discriminatory intent, or matter to question is first amendment rights byt he same courts ["17-CV-
                      03194"], or evidence for first amendment rights concerning ("FOIA") Practices, as well as for his
                      Nationality concerns within this courts to litigate rights ["18-CV-03039"] by the Federal circuit courts
                      against injustice ["21-2134"], which the court should have had jusrisdiction on the by this motion for
                      amending controversies [Dkt, 78"],
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         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      Under ("MOCMA") and ("DIFTA") they are matters for debatable concerns by the Polititians, or that
                      that the plaintiff is presenting the the claims ["21-CV-02266] or ["Dkt 10, at page, 2, that is for further
                      analysis by congressional intent, Similarly, if the majority is genuinely committed to deciphering
                      congressional intent, its unwillingness to even consider evidence as to the context in which Congress
                      legislated is perplexing. Congress does not legislate in a vacuum. As the respondents and the
                      Government suggest, and as we have held several times, the objective manifestations of congressional
                      intent to create a private right of action must be measured in light of the enacting Congress'
                      expectations as to how the judiciary might evaluate the question by federal circuit court [21-2131] that
                      is because jurisdiction is applicable within this court by the same motions claims by the kansas court for
                      evaluate theclaim ["Dkt,80, 95 pages"] , and 81; 68 pages, accordingly the motions filed by the plaintiff
                      should not be dismisses without proper justification, that to include for ["18-CV-03039, at 47, and ["18-
                      03041"]

         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                      The Jurisdictional rules should be clear. Whatever the virtues of the the Ant standard ['Motion for
                      Enforcing Power; or Developing Guidance against Facially Attack by Inkoking The Ant(s)
                      Nationalilities Act"] ("TANA"), as explained before, or like the trial court, must draw all reasonable
                      inferences supported by the evidence in favor of the non-moving party. We must then decide whether
                      any genuine issues of material fact exist, and whether the district court correctly applied the relevant
                      substantive law, although a plaintiff may rely on circumstantial evidence to show pretext, such evidence
                      must be both specific and substantial, then we are asking for the court to compel the agencies action
                      inlcuding why the defendants should release the administrative records concerning their practices of
                      exclusion against the activist, which he has established a prima facie case of discrimination, even given
                      the low threshold of evidence required to do so, we need not resolve this question definitively.



IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




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          Here, the representative, or ["Mr.Clervrain"] or the victim of the criminal enterprises submitted the various
          motions, including ("IFP") form for himself, pending to file additional for those will admitted to United States
          ["21-2131"], at ["Dkt, 3"], that is for opposition, or eviction notices or illegality by conviction (s) ["Dkt, 6"]
          Dockets Statements benefits ["Dkt,13"] as well for extention to file brief (s), or to litigate Judicial withdrwn
          standard ["Dkt, 14"] Thus, the regulation clearly contemplates that ("USCIS's") must make appropriate decision
          will be based on an examination of the facts of the particular cases for controversies to protect the various
          Haitian, and the various activist, , for example, broader policy considerations or administrative convenience.
          Further, the requirement that must ("USCIS") consider humanitarian reasons " also does allow the agencies to
          make appropriate decisions, to be included, with the plaintiff invention as part of the controversies or ground
          for them to admitted in the United states, a decision based on procedural reasons , such as the timing is within
          the applicable law, congress has mandated, under I-602 as a waiver. Although the term " humanitarian reasons,
          or assure family Unity in the Public Interest ["Dkt, 15"] , also to inform the public that the ("INA") is
          unconstituional by enforcing discriminatory , if whether the claim against ["Alien Status"] is undisputable facts,
          and ["Pauperis Status"], if that is what the plaintiff is askign the courts to inform the defendants they must act
          within 30 days ["Dkt, 17"] so that he coul have his managment team for the first stage fo the procedures, that is
          because the plaintiff is question the law by the same concept of ("MOCMA") or to prove that the defedants
          relevant conducts by applying words and terms to committed serious crimes against humanity, ["Dkt, 21"] we
          held that the question of congressional power under the Commerce Clause "is necessarily one of degree." To the
          same effect is for concurring opinion against the judicial system withn the motions filed ["Dkt,22"], then are
          asking for disposition concerns, and "to control the disposition of the causes on its docket with economy of time
          and effort for itself, for counsels, and for litigants acrross the Nations to intervene ["Dkt, 23"] we must
          concluded that the court has absolute jurisdiction and suplemental Judidiction to serve the defendants accross to
          show good cause, among other things for violated by the ["RICO Act"], or the restriction imposed against his
          first amendment is evidence for predicated Act, as here, for their official acts" In sum, we conclude the district
          court had original jurisdiction over the ("RICO") claim stated in of the complaint and pendent jurisdiction over
          the state law claims statedin all claims alleged These claims were properly broungh under section 1441(a). The
          district court has supplemental jurisdiction over the claims arising under the Securities Exchange Act of 1934
          because of the exclusive nature of jurisdiction over the 1934 Act and the application, in this case, of the
          derivative jurisdiction is not bar. The Federal Court of claim must enforce its power,, in concluding it had
          jurisdiction over the claims arising under the Securities Act of 1933. These claims were not removable either
          under section 1441(a), because of the express statutory prohibition on removal from state court, or under section
          1441(c), because the RICO claim was not separate and independent from the claim predicated on the 1933 Act.
          Accordingly, the district court lacked jurisdiction over the 1933 Act claim in the first instance and should have
          remanded this portion of the action to state court. 28 U.S.C. § 1447(c) (1982).

V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.




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          At this point the plaintiff is asking for immediate reliefs to be release certfication of trust to be appropriate to
          any bank accross the country, and that must be granted for hiring process within 30 days , as well for his
          operations of the invention or also know as ["Prolifico, Inc"] or subdivision of Brandako, Inc , as well as he is
          asking for $60 billions for the alleged injuris in facts , $35 billions Dollors for the development of the
          ["brandako, Inc"] , and $100 Millions dollars against each individuals involved in the conspiracy, that is
          because they are also liable for ["intervening cause"], ["ratification theory"], ["respondead superior"] or failure
          to ratify the alleged punitive laws...... among the others to be developed by laws.... and for the courts to docket
          the defendants information properly upon electronically file the motion so call ("TANA") and ("TALA"), then
          we asking the court for National reliefs against judicial officials restrictions, or another $ 6 billion for
          exemplary damages or additional liabily against them for failure to allow ["Non-Attorney Access"] to electronic
          filling, this Notice (s) to the court for docketing statements to litigate by invoking uder ("MOCMA") at, page 94-
          99 stattes additional defendants as well as under ("TALA"), at page 42-50, it is matter for[" invention right"],
          or ]"Protection Rights"] and ["Trademark rights"] by both domestic and international defendants to protect the
          plaintiff names, idealogistic concern against criminal enterprises within this ["Notice to the courts for Dockets
          Statements to litigate by National Electronic Filling Reform Act ('NEFRA") or for Initiating legal process to
          protect public interest by the ["National Infomative Public Grievouous Association ("NIPGA"); ["National
          Educative Bar Association Science "] ["NEDBAS"] and the Word Educative Science Association ("WEDSA) to
          be developed wordewide by invoking public opinions , or right for pubication at the defendants expenses, that
          must include all other damages upon other investigation while in the presedures of the claims and his ("FOIA")
          must be granted additional damages, among the others to litigate controversies, or any other reliefs to court
          might find just and proper....particullarly for consolidated related cases within the same jurisdiction, and for the
          plaintiff families, friends, and other activist to be admitted to the united States within 30 days after the courts
          recived the compplaint against the defendants, or within existing jurisdiction if any existed... ["20-CV-
          01306"],we note that the Class Action Fairness Act ("CAFA") does not moot the significance of our
          interpretation of § 1367, as many proposed exercises of supplemental jurisdiction, even in the class-action
          context, might not fall within the CAFA's ambit. The ["CAFA"] , then, has it impact, one way or the other, on
          our interpretation of § 1367. Indeed, it broadly authorizes the district courts to exercise supplemental jurisdiction
          over additional claims, including claims involving the joinder of additional parties. In diversity cases, the district
          courts may exercise supplemental jurisdiction, except when doing so would be in-consistent with the
          jurisdictional requirements of the diversity statute which must be granted as matter of laws or facts to question
          the defendants criminal enterprises across the country against ["Deportable Aliens,"] or amother the or claims to
          be filed, or pending ["Motion for International Extradition by questioning (The Ant(s) Criminal Massive Issues
          by Genocide Reform Act ("MIGRA"), The applicability of this norm to private individuals is also confirmed by
          the Genocide Convention Implementation Act of 1987, 18 U.S.C. §(s) 1091 (1988), which criminalizes acts of
          genocide without regard to whether the offender is acting under color of law, see id. Section(s) 1091(a)
          ("[w]hoever" commits genocide shall be punished), Under the ["Alien Tort Act"]. ("ATA"), also law to be ratify,
          by The Ant(s) Act ("TAA"), Nothing in the Genocide Convention Implementation Act or its legislative history
          reveals an intent by Congress to repeal the Alien Tort Act insofar as it applies to genocide, or to remove
          secretive crimes within the ("INA") that is a matter of facts that is undisputable by both direct and circumstantial
          evidence to be conolidate these cases, where the plaintiff alleged similar discrimintion by the the defendants
          across the country Fed.R.Civ.P. 42(a), and the cases applying , which circumscribe a district court's authority to
          consolidate civil actions for trial, or they were part of the same civil action as claims that satisfied diversity
          jurisdiction.




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.


         A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where caserelated papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:                       11/22/2021


                     Signature of Plaintiff                   S/Manetirony Clervrain
                     Printed Name of Plaintiff                Manetirony Clervrain

         B.          For Attorneys

                     Date of signing:                     S/Manetirony


                     Signature of Attorney                    S/Manetirony Clervrain
                     Printed Name of Attorney                 Manetirony Clervrain
                     Bar Number                               not Applicable for those with eividence of competency
                     Name of Law Firm                         Brandako, Inc
                     Address                                  4326 S Sctterfield Rd Suite 153
                                                              Anderson                               IN               46013
                                                                                City                State             Zip Code
                     Telephone Number                         7652789806
                     E-mail Address                           monticlervrain@gmail.com




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